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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

 

 

 

 

In re: Chapter 11

SIGNAL INTERNATIONAL, INC.,l Case No. 15-11498 (MFW)
Debtor.

In re: Chapter 11

SIGNAL SHIP REPAIR, LLC., Case No. 15-11499 (MFW)
Debtor.

In re: Chapter 11

SIGNAL INTERNATIONAL, LLC., Case No. 15-11500 (MFW)
Debtor.

In re: Chapter 11

SIGNAL INTERNATIONAL TEXAS GP, Case No. 15-501 (MFW)

LLC.,
Debtor.

In re: Chapter 11

SIGNAL INTERNATIONAL TEXAS, L.P.., Case No. 15-501 (MFW)

Debtor.

 

RE: Docket No. _<gf'

 

FINAL DECREE CLOSING CERTAIN CASES
AND AMENDING CAPTION OF REMAINING CASE

 

lThe Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Signal International, Inc. (4248); Signal Ship Repair, LLC (2642); Signal International, LLC (5074);
Signal International Texas GP, LLC (3050); and Signal International Texas, L.P. (5066). The address for the
Debtors to receive notices and mailings is: GGG Partners, LLC, Attn: Scott Yates, 3155 Roswell Road NE, Suite
120, Atlanta, GA 30305.

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Upon consideration of the Certifz`cation of Counsel Regara'ing Final Decree Closing
Certain Cases and Amending Caption of Remainz`ng Case (the “Certification of Counsel”);2 and
this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, and the
Amended Standing Order of Reference from the United States District Court for the District of
Delaware, dated as of February 29, 2012; and this matter being a core proceeding pursuant to 28
U.S.C. § 157(b)(2); and it appearing that the relief requested is in accordance with the terms of
the Conflrmation Order; and after due deliberation and sufficient cause appearing therefor,

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

l. The Closing Cases, which are set forth below, shall be closed, effective as of

. 30 , 2018:

0 Signal Ship Repair, LLC, Case No. 15-11499 (MFW);
0 Signal International, LLC, Case No. 15-11500 (MFW);
0 Signal International Texas GP, LLC, Case No. 15-11501 (MFW) and;
0 Signal International Texas, L.P., Case No. 15-11502 (MFW).
2. This Order shall be entered on the docket of each of the Closing Cases.

3. Entry of this Order is without prejudice to (i) the rights of any party in interest to

 

seek to reopen any of the Closing Cases for cause pursuant to section 350(b) of the Bankruptcy
Code, and (b) the right of Debtor Signal International, lnc., on behalf of any Debtor, to dispute,

object to or resolve all Claims that were filed against the Debtors in the Chapter 11 Cases.

 

2 Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Certif`lcation of
Counsel.

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4. The caption in the Chapter 11 Case of Signal International, Inc., Case No. 15-

11498 (MFW), shall be amended as follows:

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter 11
SIGNAL INTERNATIONAL, INC.,l Case No. 15-11498 (MFW)

Debtor.

 

 

l The last four digits of the Debtor’s federal tax identification number are 4248, and the Debtor’s
mailing address is GGG Partners, LLC, Attn: Scott Yates, 3155 Roswell Road NE, Suite 120,
Atlanta, GA 30305. The chapter 11 cases of the following affiliates of the Debtor were closed
effective as of November §§, 2018: Signal Ship Repair, LLC (2642); Signal lnternational, LLC
(5074); Signal International Texas GP, LLC (3050); and Signal International Texas, L.P. (5066).
[See Chapter 11 Case No. 15-11498, Docket No. _].

5 . All pending and future matters relating to each of the Debtors, including
objections to claims and final fee applications, shall be administered and heard in the Chapter 11
Case of Signal lnternational, Inc.

6. Each Debtor in the Closing Cases shall remain responsible for making payments
of U.S. Trustee fees payable pursuant to 28 U.S.C. § 1930, in accordance with the terms of the

Plan and Confirmation Order, through the date the Closing Cases have been closed.

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UNITED STATES BANKRUPTCY m

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